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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ----------------------------------------------------------------------
                                                                  :
  AHARON MILLER, et al.,                                          :
                                                                  :                  ORDER
                                      Plaintiffs,                 :
                                                                  :
           -v-                                                    :
                                                                         1:18-cv-02192 (BMC)(PK)
                                                                  :
  ARAB BANK, PLC,                                                 :
                                                                  :
                                                                  :
                                      Defendant.
  ----------------------------------------------------------------------

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  NATHAN PAM, et al.,                                             :
                                                                  :
                                      Plaintiffs,                 :        1:18-cv-04670 (BMC)(PK)
                                                                  :
           -v-                                                    :
                                                                  :
  ARAB BANK, PLC,                                                 :
                                                                  :
                                                                  :
                                      Defendant.
  ----------------------------------------------------------------------

         This matter comes before the Court on the parties’ joint submission of proposed Requests
 for International Judicial Assistance to Jordan, the Palestinian Territories, and Lebanon (the
 “Letters Rogatory”). Upon consideration of the proposed Letters Rogatory, and the hearing
 before this Court on September 24, 2019, including the parties’ representations regarding
 discovery during that hearing, it is ORDERED as follows:

         1.      Defendant, Arab Bank plc, is ORDERED to produce documents and other
 evidence, if any, in its possession, custody, or control that is responsive to Plaintiffs’ First
 Request for the Production of Documents to Defendant Arab Bank, PLC (“First RFPs”), or to
 Plaintiffs’ Second Request for the Production of Documents to Defendant Arab Bank, PLC
 (“Second RFPs”), both dated July 22, 2019, with respect to the following individuals and entities
 only:

         Limited to Documents in the Palestinian Territories and Lebanon Only

                  a. Ahmed Yassin and Ahmad Yasine;

                  b. Ismail Abd Al Salam Haniyeh;


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                c. Abbas al-Sayyid and Abbas al-Sayed;

                d. Al-Salah Islamic Society— Gaza;

                e. Al Nur Prisoner Society — Gaza;

                f. Al Ansar Society

                g. Union of Good and Fillaf al-Khayr


        Limited to Documents in Jordan, the Palestinian Territories, and Lebanon Only

                a. Palestine National Fund;

                b. Palestinian Authority / PLO Institute for the Care of Martyrs’ Families
                   and the Injured (a/k/a “Martyrs Families & Injured Care Establishment”);

                c. Fatah / Tanzim / AAMB;

                d. Al-Ihsan Charitable Society (a/k/a Elehssan) in Gaza;

                e. Bisam Abd al-Rahman Ahmad Abu Akar;

                f. Health Work Committees (a/k/a Union of Health Work Committees);

                g. Family of Sadeq Ahed Abd el-Hafez, including Ahed Mahmud Abdalla
                   Abd el-Hafez; and

                h. Family of Naser Jamal Musa Shawish, including Muna al-Bukhari, Tarab
                   Nimer Shehadeh Shawish, and Khalid Jamal Musa Shawish.

        2.       This Order is without prejudice to Defendant’s ability to object at a later date to
 the scope or relevancy of Plaintiffs’ First RFPs or Second RFPs, or any part thereof, or to the
 discoverability or admissibility of any document or other evidence.

          3.       This Order is without prejudice to Plaintiffs’ ability to seek additional discovery
 at a later date, including, without limitation, by identifying additional individuals or entities with
 respect to which it seeks responses to Plaintiffs’ First RFPs or Second RFPs.

         4.     The Letters Rogatory are hereby EXECUTED by this Court. Executed copies of
 the Letters Rogatory are attached to this Order.




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         5.     The Clerk is DIRECTED to authenticate the executed Letters Rogatory attached
 to this Order by affixing its seal to each of them, and shall thereafter provide the Letters
 Rogatory to Defendant via ECF.

         6.      Defendant is ORDERED, pursuant to 28 U.S.C. § 1781(b), to forward the
 executed and authenticated Letters Rogatory to the appropriate authorities, in consultation with
 Plaintiffs, at Defendant’s own cost.




                                              SO ORDERED:
                                                Peggy Kuo
                                              ______________________________
                                              Peggy Kuo
                                              United States Magistrate Judge

 Dated: Brooklyn, New York
         January 10         20
                       , 20__




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